     Case 8:18-cv-01550-JVS-ADS Document 13 Filed 12/14/18 Page 1 of 3 Page ID #:53



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8

9                        UNITED STATES DISTRICT COURT
10
                       CENTRAL DISTRICT OF CALIFORNIA
11

12

13
      JOSEPH MENICHIELLO, individually       )        Case No.
14    and on behalf of all others similarly  )
15    situated,                              )        8:18-cv-01550-JVS-ADS
      Plaintiff,                             )
16                                                    NOTICE OF DISMISSAL OF
                                             )
17    vs.                                    )        ACTION WITH PREJUDICE AS
                                             )        TO THE NAMED PLAINTIFF
18
      HARDWICK INVESTORS GROUP,              )        AND WITHOUT PREJUDICE AS
19    LLC d/b/a QUICK FI CAPITAL, and        )        TO THE PUTATIVE CLASS
20    DOES 1 through 10, inclusive, and each )
      of them,                               )
21
      Defendant..                            )
22                                           )
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                                      Notice of Dismissal - 1
     Case 8:18-cv-01550-JVS-ADS Document 13 Filed 12/14/18 Page 2 of 3 Page ID #:54



1           NOTICE IS HEREBY GIVEN that Plaintiff, pursuant to Federal Rule of
2
      Civil Procedure 41(a)(1), hereby voluntarily dismisses the entire case with
3

4     prejudice as to all of their individual claims and without prejudice as to the claims
5
      of any putative class member. Each party shall bear their own costs and attorneys’
6

7     fees. Defendant has neither answered Plaintiff’s Complaint, nor filed a motion for
8
      summary judgment. Accordingly, this matter may be dismissed with prejudice and
9
      without an Order of the Court.
10

11          RESPECTFULLY SUBMITTED this December 14, 2018.
12

13                              By:
14
                                                     /s/Adrian R. Bacon
15                                                     Adrian R. Bacon ESQ.
16
                                                 Law Offices of Todd M. Friedman,P.C.
                                                      Attorney For Plaintiff
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                                         Notice of Dismissal - 2
     Case 8:18-cv-01550-JVS-ADS Document 13 Filed 12/14/18 Page 3 of 3 Page ID #:55



1
      CERTIFICATE OF SERVICE
2
      Filed electronically on December 14, 2018 with:
3

4     United States District Court CM/ECF system
5
      Notification sent electronically on December 14, 2018 to:
6

7     To the Honorable Court, all parties and their Counsel of Record
8

9                                                      By: /s/Adrian R. Bacon
                                                        Adrian R. Bacon ESQ.
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                                       Notice of Dismissal - 3
